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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                   ORLANDO DIVISION
EMPIRE CORVETTE OF AMERICA,
INC.,

                       Plaintiff,

v.                                                              Case No: 6:18-cv-26-Orl-22DCI

JUST TOYS CLASSIC CARS, LLC,

                  Defendant.
___________________________________

               RELATED CASE ORDER, INTERESTED PERSONS ORDER,
                   AND ORDER REQUIRING ELECTRONIC FILING
                         DIRECTED TO DEFENDANT(S)

       RELATED CASE ORDER:                    No later than February 27, 2018, counsel for or any

pro se Defendant shall comply with Local Rule 1.04(d), and shall file and serve a certification as

to whether the instant action should be designated as a similar or successive case pursuant to Local

Rule 1.04(a) or (b). The Defendant(s) shall utilize the attached form NOTICE OF PENDENCY OF

OTHER ACTIONS.

       INTERESTED PERSONS ORDER:                     This Court makes an active effort to screen

every case in order to identify parties and interested corporations in which any assigned Judge may

be a shareholder, as well as for other matters that might require consideration of recusal. Counsel

is advised that the Judge holds stock in Berkshire Hathaway Inc. It is the duty of Counsel to

determine if any subsidiaries or stock ownership by Berkshire Hathaway Inc. requires recusal of

the Judge.
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       Accordingly, no later than February 27, 2018, Defendant shall file and serve a

CERTIFICATE   OF INTERESTED      PERSONS   AND   CORPORATE DISCLOSURE STATEMENT utilizing the

attached form.

       No party may seek discovery from any source before filing and serving a CERTIFICATE OF

INTERESTED PERSONS        AND   CORPORATE DISCLOSURE STATEMENT.             A motion, memorandum,

response, or other paper — including emergency motion — may be denied or stricken unless

the filing party has previously filed and served its CERTIFICATE     OF INTERESTED     PERSONS   AND

CORPORATE DISCLOSURE STATEMENT.

       Each party has a continuing obligation to file and serve an amended CERTIFICATE             OF

INTERESTED PERSONS        AND   CORPORATE DISCLOSURE STATEMENT within eleven days of 1)

discovering any ground for amendment, including notice of case reassignment to a different

judicial officer; or 2) discovering any ground for recusal or disqualification of a judicial officer.

A party should not routinely list an assigned District Judge or Magistrate Judge as an “interested

person” absent some non-judicial interest.

       In order to assist the Court in determining when a conflict of interest may exist, particularly

when ruling on matters formally assigned to another judge, each party shall use the full caption of

the case — including the names of all parties and intervenors — on all motions, memoranda,

papers, and proposed orders submitted to the Clerk. See Fed.R.Civ.P. 10(a); Local Rule 1.05(b)

(“et al.” discouraged).

       ORDER REQUIRING ELECTRONIC FILING:                             All     attorneys    appearing

before this court are required to register for CM/ECF docketing within 15 days of their entry of

appearance in any action pending before this Court. Counsel are directed to the website located at
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www.flmd.uscourts.gov under “CM/ECF” where they are to request their password from the

Court. (NOTE: Pro Se parties are exempt from the electronic filing requirement.)

       DONE and ORDERED in Orlando, Florida on February 13, 2018.


                                                            ANNE C. CONWAY
                                                               Anne C. Conway
                                                          United States District Judge


Attachments: Notice of Pendency of Other Actions [mandatory form]
             Certificate of Interested Persons Order and Corporate Disclosure Statement



Copies to:    All Counsel of Record
              All Pro Se Parties
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                              UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA
                                    ORLANDO DIVISION
EMPIRE CORVETTE OF AMERICA,
INC.,

                        Plaintiff,

v.                                                                Case No: 6:18-cv-26-Orl-22DCI

JUST TOYS CLASSIC CARS, LLC,

                  Defendant.
___________________________________

                        NOTICE OF PENDENCY OF OTHER ACTIONS

         In accordance with Local Rule 1.04(d), I certify that the instant action:

          IS            related to pending or closed civil or criminal case(s) previously filed in this
                        Court, or any other Federal or State court, or administrative agency as
                        indicated below:




          IS NOT        related to any pending or closed civil or criminal case filed with this Court,
                        or any other Federal or State court, or administrative agency.

       I further certify that I will serve a copy of this Notice of Pendency of Other Actions upon
each party no later than fourteen days after appearance of the party.


Dated:



Counsel of Record or Pro Se Party
   [Address and Telephone]
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                                CERTIFICATE OF INTERESTED PERSONS
                               AND CORPORATE DISCLOSURE STATEMENT


         I hereby disclose the following pursuant to this Court’s interested persons order:

1.)     the name of each person, attorney, association of persons, firm, law firm, partnership,
and corporation that has or may have an interest in the outcome of this action — including
subsidiaries, conglomerates, affiliates, parent corporations, publicly-traded companies that
own 10% or more of a party’s stock, all other identifiable legal entities related to any party in
the case, and all members of any LLC including their citizenship:

         [insert list]

2.)    the name of every other entity whose publicly-traded stock, equity, or debt may be
substantially affected by the outcome of the proceedings:


         [insert list]

3.)    the name of every other entity which is likely to be an active participant in the
proceedings, including the debtor and members of the creditors’ committee (or twenty largest
unsecured creditors) in bankruptcy cases:

         [insert list]

4.)    the name of each victim (individual or corporate) of civil and criminal conduct alleged
to be wrongful, including every person who may be entitled to restitution:


         [insert list]

        I hereby certify that, except as disclosed above, I am unaware of any actual or potential
conflict of interest involving the district judge and magistrate judge assigned to this case, and
will immediately notify the Court in writing on learning of any such conflict.


[Date]                                                _____________________________
                                                      [Counsel of Record or Pro Se Party]
                                                           [Address and Telephone]
[Certificate of Service]
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AO 85 (Rev. 01/09) Notice, Consent, and Reference of a Civil Action to a Magistrate Judge



                                        UNITED STATES DISTRICT COURT
                                                                            for the
                                                               Middle District of Florida

        EMPIRE CORVETTE OF AMERICA, INC.                                        )
                                 Plaintiff                                      )
                         v.                                                     )     Civil Action No.      6:18-cv-26-Orl-22DCI
             JUST TOYS CLASSIC CARS, LLC                                        )
                               Defendant                                        )


           NOTICE, CONSENT, AND REFERENCE OF A CIVIL ACTION TO A MAGISTRATE JUDGE


        Notice of a magistrate judge’s availability. A United States magistrate judge of this court is available to conduct all
proceedings in this civil action (including a jury or nonjury trial) and to order the entry of a final judgment. The judgment may
then be appealed directly to the United States court of appeals like any other judgment of this court. A magistrate judge may
exercise this authority only if all parties voluntarily consent.

        You may consent to have your case referred to a magistrate judge, or you may withhold your consent without
adverse substantive consequences. The name of any party withholding consent will not be revealed to any judge who may
otherwise be involved with your case.

       Consent to a magistrate judge’s authority. The following parties consent to have a United States magistrate judge
conduct all proceedings in this case including trial, the entry of final judgment, and all post-trial proceedings.

              Parties’ printed names                                   Signatures of parties or attorneys                      Dates




                                                                    Reference Order
        IT IS ORDERED: This case is referred to a United States magistrate judge to conduct all proceedings and
order the entry of a final judgment in accordance with 28 U.S.C. § 636(c) and Fed. R. Civ. P. 73.


Date:
                                                                                                  District Judge’s signature




                                                                                                    Printed name and title


Note: Return this form to the clerk of court only if you are consenting to the exercise of jurisdiction by a United States
magistrate judge. Do not return this form to a judge.
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AO 85A (Rev. 01/09) Notice, Consent, and Reference of a Dispositive Motion to a Magistrate Judge


                                       UNITED STATES DISTRICT COURT
                                                                          for the
                                                             Middle District of Florida

      EMPIRE CORVETTE OF AMERICA, INC.                                         )
                               Plaintiff                                       )
                       v.                                                      )       Civil Action No. 6:18-cv-26-Orl-22DCI
           JUST TOYS CLASSIC CARS, LLC                                         )
                              Defendant                                        )

    NOTICE, CONSENT, AND REFERENCE OF A DISPOSITIVE MOTION TO A MAGISTRATE JUDGE

         Notice of a magistrate judge’s availability. A United States magistrate judge of this court is available to conduct
all proceedings and enter a final order dispositive of each motion. A magistrate judge may exercise this authority only if
all parties voluntarily consent.

        You may consent to have motions referred to a magistrate judge, or you may withhold your consent without
adverse substantive consequences. The name of any party withholding consent will not be revealed to any judge who
may otherwise be involved with your case.

           Consent to a magistrate judge’s consideration of a dispositive motion. The following parties consent to have a
United States magistrate judge conduct any and all proceedings and enter a final order as to each motion identified below
(identify each motion by document number and title).


                  Motions:




            Parties’ printed names                                  Signatures of parties or attorneys                         Dates




                                                                   Reference Order

         IT IS ORDERED: The motions are referred to a United States magistrate judge to conduct all proceedings and
enter a final order on the motions identified above in accordance with 28 U.S.C. § 636(c).

Date:
                                                                                                     District Judge’s signature


                                                                                                      Printed name and title


Note: Return this form to the clerk of court only if you are consenting to the exercise of jurisdiction by a United States
magistrate judge. Do not return this form to a judge.
